Case 8:15-cv-02429-MSS-JSS Document 1 Filed 10/14/15 Page 1 of 4 PageID 1




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 DALE SPEARS,

                              Plaintiff,

 vs.                                          CASE NO. _________________________

 MERCANTILE ADJUSTMENT
 BUREAU, LLC,

                        Defendant.
 ___________________________________/

                                      COMPLAINT
                                     JURY DEMAND

        1.      Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15

 U.S.C. § 1692 et seq. (“FDCPA”).

                             JURISDICTION AND VENUE

        2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 1337 and 15

 U.S.C. § 1692k. Venue in this District is proper because Plaintiff resides here and

 Defendant placed telephone calls into this District.

                                           PARTIES

        3.      Plaintiff, Dale Spears is a natural person and a citizen of the State of

 Florida, residing in Hillsborough County in the Middle District of Florida.

        4.      Defendant, Mercantile Adjustment Bureau, LLC is a foreign limited

 liability company organized and existing under the laws of the State of New York with its

 principal place of business and corporate offices in Williamsville, New York 14221.
Case 8:15-cv-02429-MSS-JSS Document 1 Filed 10/14/15 Page 2 of 4 PageID 2




         5.      Defendant regularly uses the mail and telephone in a business the principal

 purpose of which is the collection of debts.

         6.      Defendant regularly collects or attempts to collect debts for other parties.

         7.      Defendant is a “debt collector” as that term is defined in the FDCPA.

         8.      Defendant was acting as a debt collector with respect to the collection of

 Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

         9.      Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family, or household purposes.

         10.     Defendant left the following message(s) on Plaintiff’s voice mail on his

 cellular telephone on or about the date(s) stated:

                 October 15, 2014 at 6:29 PM
                 This message is for Dale Spears. If you’re not Dale Spears please
                 disconnect this call. By continuing to listen to this message, you
                 acknowledge you are Dale Spears. This is David Nikon from
                 Mercantile Adjustment Bureau; please contact me about an
                 important personal business matter at 1-866-513-9461 extension
                 325.

         11.     The Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

         12.     The messages are “communications” as defined by 15 U.S.C. § 1692a(2).

 See Belin v. Litton Loan Servicing, 2006 WL 1992410 (M.D.Fla. July 14, 2006) (holding

 that messages left on the debtor’s answering machine were “communications” under the

 FDCPA); Foti v. NCO Fin. Sys., 424 F.Supp.2d 643, 655-56 (S.D.N.Y.2006) (holding




                                          Page 2 of 4
Case 8:15-cv-02429-MSS-JSS Document 1 Filed 10/14/15 Page 3 of 4 PageID 3




 that a voice mail message is a “communication” under the FDCPA); Hosseinzadeh v.

 M.R.S. Assocs., Inc., 387 F.Supp.2d 1104, 1115-16 (C.D.Cal. 2005) (same).

           13.   Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages.

                                    COUNT I
                 FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR
                   IN VIOLATION OF THE FDCPA, 15 U.S.C. § 1692e(11)

           14.   Plaintiff incorporates Paragraphs 1 through 13 above as if fully set forth

 herein.

           15.   Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. § 1692e(11). See Foti v. NCO Fin. Sys., 424 F. Supp.

 2d 643, 646 (S.D.N.Y. 2006); Belin v. Litton Loan Servicing, 2006 WL 1992410 (M.D.

 Fla. 2006); Leyse v. Corporate Collection Servs., 2006 WL 2708451 (S.D.N.Y. 2006).

           WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

                 a. Damages;

                 b. Attorney’s fees, litigation expenses, and costs of suit; and

                 c. Such other or further relief as the Court deems proper.

                                 COUNT II
           FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY
                IN VIOLATION OF THE FDCPA, 15 U.S.C. § 1692d(6)

           16.   Plaintiff incorporates Paragraphs 1 through 13 above as if fully set forth

 herein.



                                          Page 3 of 4
Case 8:15-cv-02429-MSS-JSS Document 1 Filed 10/14/15 Page 4 of 4 PageID 4




        17.     Defendant placed telephone calls to Plaintiff without making meaningful

 disclosure of its identity when it failed to disclose the purpose of its communication in

 the telephone message in violation of 15 U.S.C. § 1692d(6). See Valencia v. The

 Affiliated Group, Inc., 2008 WL 4372895 (S.D. Fla. 2008); Wright v. Credit Bureau of

 Georgia, Inc., 548 F. Supp. 591, 597 (N.D.Ga. 1982); Hosseinzadeh v. M.R.S. Assocs.,

 387 F. Supp.2d 1104, 1112 (D.Cal. 2005).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

                a. Damages;

                b. Attorney’s fees, litigation expenses, and costs of suit; and

                c. Such other or further relief as the Court deems proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury.

                                                /s/ James S. Giardina
                                                [ X] James S. Giardina – Trial Counsel
                                                Fla. Bar No. 0942421
                                                [ ] Kimberly H. Wochholz
                                                Fla. Bar No. 0092159
                                                The Consumer Rights Law Group, PLLC
                                                3104 W. Waters Avenue, Suite 200
                                                Tampa, Florida 33614-2877
                                                Tel: (813) 435-5055 ext 101
                                                Fax: (866) 535-7199
                                                James@ConsumerRightsLawGroup.com
                                                Kim@ConsumerRightsLawGroup.com
                                                Counsel for Plaintiff




                                           Page 4 of 4
